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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street, 3rd floor
                                                     New York, New York 10007




                                                   February 18, 2025

BY ECF
The Honorable Jeannette A. Vargas
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

                   Re:     State of New York et al. v. Trump et al., No. 25 Civ. 1144 (JAV)

Dear Judge Vargas:

        This Office represents the defendants in the above-captioned matter. We write to
bring to the Court’s attention another relevant supplemental authority. On February 17,
2025, the district court in University of California Student Association v. Carter, et al.,
Civil Action No. 25-354 (RDM) (D.D.C.), denied the plaintiff’s motion for a temporary
restraining order that would restrain the Department of Education and its acting secretary
“from disclosing information about Plaintiff’s members to individuals affiliated with the
so-called Department of Government Efficiency (DOGE).” See Ex. A (internal quotation
marks omitted).

       We thank the Court for its consideration of this submission.
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                                          Respectfully,

                                          MATTHEW PODOLSKY
                                          Acting United States Attorney for the
                                          Southern District of New York
                                          Attorney for Defendants

                                   By: /s/ Rebecca S. Tinio__      _
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Encl.




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